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                                          September 3, 2021

FILED VIA ECF

The Honorable Chad F. Kenney
United States District Court for the Eastern District of Pennsylvania
6614 James A. Byrne United States Courthouse
601 Market Street, Independence Mall West
Philadelphia, Pennsylvania 19106-1754

        Re:     Simmons v. Pennsylvania State Police et al.
                Civil Action No.: 21-1455

Dear Judge Kenney,

        This law firm serves on the federal employment panel. We have had the opportunity to meet
and confer with the Plaintiff in the above-referenced matter. And we have accepted representation. We
welcome an order appointing this firm as counsel moving forward. Please let me know if any
additional information is necessary.

        Thank you.

                                                        Respectfully Submitted,

                                                        KARPF, KARPF & CERUTTI, P.C.

                                                        /s/ Ari R. Karpf
                                                        Ari R. Karpf, Esq.
